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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                              Criminal Case No: 1:23-cr-124-ACR


UNITED STATES OF AMERICA,

v.

MICAH COOMER,

            Defendant.
_______________________________________/

              DEFENDANT COOMER'S SENTENCING MEMORANDUM

This memorandum is submitted on behalf of Micah Coomer for the Court's consideration in

determining an appropriate sentence for the conduct to which he has pleaded guilty.

                                      INTRODUCTION

                                    Who is Micah Coomer?

Micah is a young man from Muncie, Indiana, a small Midwest college town in central Indiana.

Without being the home of Ball State University, folks outside of Indiana would unlikely know

of Muncie. Micah was raised like many small-town Indiana kids of Generation Z: politically and

socially conservative because that's who most moms and dads are in those small Midwest towns.

Family, church, school, and sports were typical mainstays of his and his friend's formative years.

Micah did well in school, taking college-level courses before graduating, and played on High

School sports teams.

In 2017, he enlisted in the U.S. Marines Delayed Entry Program. He shipped to Marine Corps

boot camp on September 10, 2018, followed by Marine Combat Training and then his

Occupational Specialty School in Texas. After his training pipeline regime and accompanying

leave (vacation) periods, he arrived at Marine Corps Base Quantico in Stafford County on


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September 9, 2019. He was introduced to his first Marine Corps unit, got his first actual barracks

room assigned, and started his military career earnestly. Micah was on his own for the first time

at 20 years old.

Although I'm an older Gen-X, I know Micah's upbringing and path are like many small-town

Indiana kids because that's very close to how I grew up in southern Indiana and who I was in

1984 when I enlisted in the Marine Corps and traveled a similar path at 18. It was that way for

my five high school friends who went into the Marines from our small Indiana town around the

same time.

             What led Micah Coomer to Washington, DC, on January 6, 2021?

When you grow up like Micah and get out of the small town and own your own for the first time,

you either broaden your outlook by choice or circumstance or seek the comfort of what you know.

For Micah, he found himself in Quantico, Virginia, in Stafford County - about 40 miles south of

your courtroom.

Stafford is a conservative if you are not ensconced in the pre-planned semi-private utopias of

aging McMansions and new-builds that feature schools, grocery stores and conveniences, and

golf courses all within walking distance or a bike ride. Those commuter housing communities

aren't quite accessible to the young single Marine who wants to get off base and explore. Once

you exclude those communities, it feels much more like the middle third of Indiana.

Micah began meeting other Marines and making friends, including the two with whom he was

charged. They were similarly minded, and while they were all about the same age, Dodge and

Joshua had been in the Marine Corps longer. Being a younger adult and on his own, Micah

consumed social media, played video games, and socialized with his friends in the barracks, on

base, and in Stafford. At the time, he received most of his current events via Fox News, playing




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around the base and other conservative sources on social media and podcasts because he didn't

have cable in the barracks.

The court may remember social media was on fire as early as 2019 into 2020.1 Leading up to the

November 2019 election cycle, Virginia polls were trending blue, and National and Virginia news

and social media were abuzz with 2nd Amendment fearmongering: if Virginia Democrats won,

then gun rights were lost. The Virginia State Senate and the Virginia State House flipped

Democrat in 2019. That wave led to the Virginia Citizens Defense League's Second Amendment

rally at the Virginia capitol in Richmond. On January 20, 2020, around 20,000 protesters gathered

to express their anger over newly elected Virginia Democrats’ reported plans to pursue stricter

gun control legislation.2

At this time, Micah was very supportive of the President; he appreciated the President's seeming

support of the military with an iconic retired Marine General as his first Secretary of Defense and

a well-respected retired Marine General as his Chief of Staff. The President seemed to be for the

little guy the way he pardoned and commuted punishments for Soldiers and Sailors for actions

occurring in Iraq and Afghanistan and fired those who challenged his directions. Also, many

members of Congress supported the President, and Micah's former Indiana Governor was his

Vice-President. While no election rallies were scheduled around Stafford, Micah and his two

friends did make the trip to Richmond (in their personal capacity) to both show support for the

Second Amendment and, for Micah, because he wanted to hear the speeches given by some of

the famous and influential social media personalities he followed. Micah will tell you, at the time,

it was inspiring, non-violent, and motivating.



1
      https://www.pewresearch.org/politics/2021/09/30/charting-congress-on-social-media-in-the-
2016-and-2020-elections/
2
  https://www.adl.org/resources/blog/2020-richmond-lobby-day-blueprint-violent-year


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Over the 2020 election cycle, Micah continued to consume social media and conservative news

programs. At the same time, he was doing very well learning his new profession of being a

Marine, and the nuances of his occupational specialty. Appended exhibits show his proficiency,

and conduct marks reflect his progression.

In November 2020, Micah was able to vote (absentee) in his first Presidential Election and cast

his vote to re-elect President Trump. The hype was very real to a now 21-year-old from a small

town. When the results came in over the next few days, it looked as if President Trump had lost;

however, Micah was inspired by his fight - challenging the alleged election problems. The chorus

of influential politicians, influential news reporters (commentators is a better term), and high-

paid lawyers all said there were problems, and the election was being stolen. Then Micah started

seeing courts across the country ruling against the President and his lawyers in the cases they

brought. Then he heard that judges whom the President appointed were ruling against him. It all

became very confusing for Micah. The thought of President Trump losing or that he lost was

disappointing to Micah, but he was not angry or crushed.

As the dominoes started to fall, so too did Micah's trust in the system. Unsurprisingly, at 21 years

of age and out on his own for a little over a year, with almost every Republican (at least the vocal

ones) screaming Stop the Steal and Democrats winning by deferring to the court processes, it

created a good amount of confusion in Micah.

Micah and his two friends (Dodge and Joshua) heard about the January 6, 2021, rally on the

ellipse, and they made loose plans to attend. Micah hoped to see the President and others he

admired. Without a well-laid plan, on January 6, they went to work that morning, and they did

not have to return after lunch that afternoon. After completing the morning's work, Micah

returned to the Barracks where he lived, changed into civilian attire, and went to eat lunch.




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Around this time, 16:26:06 UTC (11:26 am EST), Micah didn't even know if the Rally was still

happening, leading him to send a message to an Instagram group he was following to ask if it

was still happening and if anyone knew where to park.3




After lunch, Micah met up with Dodge, and they drove to Joshua's house on base. From there,

the trio went north to DC. As Micah drove across the 14th Street Bridge and was crossing the

Mall, the three looked to the right, and it appeared to them the rally was at the U.S. Capitol. They

continued north, parked at the Clara Barton Parking Garage, and walked south to the Capitol.

When they arrived at the Capitol, Micah recalls there being a lot of people there, some watching

and some yelling chants like, "Four More Years" and "Make America Great Again." There were

people at the top of the stairs with bullhorns giving speeches and others in different places just

yelling into a bullhorn. A lot of it he couldn't understand, and it felt very chaotic. Now, Micah

knows they were outside what's called the Senate Side of the Capitol. While Micah didn't see

what led up to it, after a while, people started going into the Capitol Building through what he

now knows as the Senate Wing Door. Wrongfully, at 14:20 EST, Micah, Dodge, and Joshua

entered as well.

                   THE OFFENSE AND SENTENCING CONSIDERATIONS

           What did Micah Coomer do inside the U.S. Capitol on January 6, 2021?

In reviewing the CCTV video footage from an inside vantage point, there is clear evidence of a

forced entry near the Senate Wing Door, i.e., there is glass on the floor underneath a nearby




3
    0176-SD-3503399_0000026_1A0000008_0000001: Instagram Business Record page 89230


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window. However, Micah and his friends walked through the opened Senate Wing Door. As he

reflects today, he doesn't recall damage to the Senate Wing Door they entered but remembers

people going in or out of a window near the door. He knows going in was wrong. Once inside,

the trio began looking around, not really knowing what to do or where to go because none of this

was planned. That is not to say Micah did not know better; he did.

They entered a non-descript hall and were off-and-on absorbed into a river of people walking in

one direction and then another. Occasionally, one river of people met another walking in another

direction, and they got turned around. Soon, they found themselves in the Capitol Rotunda, where

they took selfies and other pictures. From there, they fumbled their way back and forth between

Statutory Hall and the Rotunda, essentially looking around and taking pictures. When in a river

of people, the trio did join in the catchphrases being chanted - but he and his friends were not the

instigators. At one point, the trio put a "Make American Great Again" hat on a statue, took

pictures, and removed the hat, leaving the statue undamaged. While in the Capitol, Micah also

took a call from his mother - who admonished him to get out of there. He should have listened to

his mom, and for that - he is still making amends. You will see her in the courtroom on the day

of sentencing. She loves and supports her son, but she is not happy with him. Upon leaving the

Capitol, the trio stayed in the vicinity of the Capitol steps, listening to people making speeches,

and then they departed back to Quantico.

From the objective evidence and the statements of the three, they were appropriately charged for

they were clearly parading/demonstrating in the Capitol Building in violation of 40 U.S.C. §

5104(e)(2)(G), and to that, Micah has pleaded guilty.

                        Additional factual consideration for the court.

I've appreciated the professionalism the U.S. Attorney's Office has demonstrated in Micah's case,




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given the number of cases and the amount of discovery. However, I want to address a few factual

disagreements in the government's sentencing memorandum and expound upon more for the

Court's consideration.

                         The trio did not attend the rally on the ellipse.

Micah DID NOT attend the "Stop the Steal" rally on the ellipse. Micah wanted to attend and see

the headliners speak on the stage, like Mayor Giuliani and, hopefully, President Trump, but he

and his friends showed up late. It is an important point because they DID NOT hear the

inflammatory or inciting speeches to get riled or angered. They DID NOT move from the ellipse

to the Capitol, getting angrier or whipped into a frenzy with the crowd as it approached. The

crowd was at the Capitol when Micah and his friends crossed into DC and were looking for

parking. When Micah, Dodge, and Joshua arrived at the Capitol, the crowd had re-formed and

already moved close to the building. Shortly after arriving, the crowd started entering, and the

trio followed. It was wrong to have done so, but they were neither whipped into a frenzy nor did

they appear to be. By their appearance on the CCTV video, it looked just the opposite.

Micah doesn't remember hearing any alarms and does not remember stepping over any glass or

seeing overturned furniture when he walked through the Senate Wing Door. That seems correct

when reviewing the discovered CCTV footage and image 2 of the government's memo.4 That

doesn't excuse any of his actions, and Micah knew he was wrong.

                          Posting pictures and provocative messages.

It's true Micah posted pictures that were taken from inside and outside the Capitol shortly after

getting back to Quantico around 7:40 p.m. EST and deleted the post a little while later. Micah

was told he could get in trouble for being there, so posting pictures was not a good idea. To



4
    0102 I USCS 01 Senate Wing Door near S139-2021-01-06_14h20min00s000ms


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Micah, apologizing on social media for being there would further publicly incriminate himself.

It's also true that, off and on, he engaged in some immature trash-talk or smack-talk as young

men often do. It certainly doesn't make it right, but I suspect there's a good number of young men

and women who have let their mouth outrun their thinking of the consequences. My point is only

the trash-talk is not indicative of who Micah Coomer was or is today - but I agree 100%: it sure

looks bad even if they are direct or private messages; no excuses.

Painting Micah's trash-talking as "deeply ominous" based on "Micah's military training and

access to military weapons" seems a bit of a stretch. Micah's only weapons training was the same

handful of days that every basic Marine trainee gets - mostly to see if they can hack the process.

Micah received no special training outside basic marksmanship, and he wasn't trained as an

infantryman or critical skills operator. For all intents and purposes, he is a Marine computer

network administrator. Much of his time in Quantico was spent answering computer trouble

tickets. His access to military weapons was limited to drawing an M-4 (rifle) from a heavily

fortified armory to shoot on the rifle range deep inside Quantico in a controlled environment once

a year if he was lucky. I do not offer this to excuse his comments; please see above - no excuses.

What he sent were provocative and offensive direct messages to his friends or family reeking of

bluster and perceived swagger - and he is embarrassed by them and remorseful.

                                 Assistance to the Government.

The government gave Micah five sentences in their memorandum for his cooperation in the case,

i.e., a paragraph. Consider, of the 3 Marines, Micah was the first to engage in a proffer session

with the government, after quickly retaining counsel, getting a grasp on the law and the process,

and quickly making inroads with the Assistant United States Attorney to accept responsibility.

Micah, with the assistance of his parents, retained counsel on January 25, 2023, and on or before




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February 6, 2023, had made it known, through counsel, that he wanted to resolve the matter and

accept responsibility. Within a month of receiving discovery, Micah worked to set a proofer

session with the Assistant United States Attorney.

After dealing with some COVID issues, an approximately 2-hour remote proffer session

occurred, and Micah told the government everything he could remember, agreed to assist in any

way he could, and committed to looking for some information to clear up pending questions.

Over the next two days, Micah pulled his old bank records and phone records to determine he

was the one that drove to DC over 2 years earlier and even what parking garage they parked in

before walking to the capitol. The follow-up was given to the government promptly the same day

or the next.

Within a week of the proffer, Micah had a signed agreement to resolve his case and cooperate as

required. It was not long after that Dodge and Joshua entered into plea agreements with the

government. Perhaps the fact Micah engaged in the proffer session and agreed to a resolution so

quickly led Dodge and Josh to follow suit and resolve their cases as well.

The only issue I recall during the proffer session was during the discussion of the word

"boogaloo," and where Micah had heard or learned of the word. My recollection is Micah told

him he learned of it playing a video game - either on the game itself or someone said it during

online play - and he was pressed if that's where, in fact, he learned the word. Also, he was pressed

on the intent of the direct messages, i.e., the trash-talk with friends or family mentioned and

included by the government.

                             Micah has expressed remorse, publicly.

The government is wrong about Micah expressing remorse. While it's true he did not publicly

express remorse before being investigated and charged, he has since. Micah has been dual-tracked




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by the Department of Justice and the Department of Defense. Apparently, under the Memorandum

of Understanding between the Department of Justice and the Department of Defense, paras. C.3

and E, executed in 1981 and implemented in the Department of Defense by Department of Defense

Directive 5525.7, the Department of Justice took the lead in the cases of Coomer, Hellonen, and

Abate after soliciting the input of the Department of Defense. For Micah, while the Department of

Justice was prosecuting him, the U.S. Marine Corps processed him for administrative separation

for misconduct (commission of a serious offense under the UCMJ).

After Micah pleaded guilty in May 2023, an in-person administrative separation hearing was

conducted on July 11, 2023. Micah appeared before a panel (jury) of 2 commissioned U.S. Marine

Corps Officers (including one field grade officer) and a Senior Staff Non-Commissioned Officer

(NCO). Micah did not contest his actions on January 6. Instead, Micah asked the jurors to retain

him in the Marine Corps based on reason and actions. He told the jurors about his upbringing and

how he's matured since falling prey to the persuasive and influential national leaders he admired.

He explained he's a little older now (not much, but he's lived on his own twice again as long as he

had before January 6, 2021) and that he's married and focused on the future of his family. He told

the jurors he was sorry for even taking them from their work to have to serve on his panel, and he

told them in an open hearing room:

               Not to minimize, I was in the wrong. I regret going to the Capitol

               building on January 6th. And like I will tell the judge in September

               at my sentencing, I'm sorry, and I'm trying to make amends by my

               actions, not just words.5




5
  This is a very small excerpt of Micah's public statement to the board; the transcript of the
statement is appended as an exhibit.


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The board jurors voted to retain Micah in the Marine Corps to be either discharged honorably after

his 5-year contract ended on September 9, 2023, or to be re-enlisted. Unfortunately, it is almost a

certainty neither of those will happen at the time of submitting this memo. The findings worksheet

and the transcript of Micah's statement are appended as an exhibit.

                                    Collateral consequences.

With his retirement and change of command imminent, one of the last things that Micah's

Commanding General, Lieutenant General George Smith, USMC,6 did before retiring was to

recommend to the Secretary of the Navy that Micah be discharged, notwithstanding the appointed

jurors voted to retain him. Then, learning the paperwork would not process quickly enough and

undeterred, Lieutenant General Smith informed Micah, by proxy, that he was planning on

discharging him with a less-than-honorable discharge at the end of his contract if the Secretary

could not get it done. Lieutenant General Smith never once spoke to Micah about any of it and had

a materially incomplete administrative record upon which he based his actions.

Lieutenant General Smith's successor in command, Major General Bradford Gering, USMC, has

indicated he will, in fact, give Micah a less than honorable discharge after his 5-year contract has

been completed on September 9. Again, Major General Gering may have a change of heart this

week, but the chances are slim. A rebuttal to the proposed characterization is appended as an

exhibit.

        Collateral consequences, but real and disparate from Dodge and Joshua, nonetheless.

                                            Education.

Dodge and Josh both enlisted before Micah and for 4 years compared to Micah's 5-year enlistment.

Both Dodge and Joshua have since re-enlisted, and their VA benefits for that enlistment have



6
    Commanding General, I Marine Expeditionary Force


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vested, including their 9/11 GI Bill. Micah has lost his honorable discharge and, therefore, his 9/11

GI bill for his college education. At 88 CFR 24665, the current notice states that:

               For the 2023–2024 academic year, the Post-9/11 GI Bill allows

               VA to pay the actual net cost of tuition and fees not to exceed the

               in-state amounts for students pursuing training at public schools;

               $27,120.05 for students training at private and foreign schools;

               $27,120.05 for students training at non-degree granting schools.

Additionally, the 9/11 GI Bill authorizes a working student to receive a Military Housing

Allowance at the E-5 with a Dependent rate of $3792/mo. in San Diego, where Micah lives - or

$45,504 tax-free annually. Overall, the nearly unreviewable authority to degrade Micah's discharge

will take away almost $300,000 of benefits over the next four years - benefits Dodge and Joshua

will keep.

                                    Characterization of service.

It appears now that Dodge and Joshua are currently being processed for administrative separation,

as Micah was months ago. A significant disparity in possible outcomes is present here as well.

Because Micah moved so quickly to resolve his case, he was excluded from the consolidated

disposition authority (CDA) for all Marine Corps January 6th cases.7

Processing for separation does not mean separation is required. Like Micah, the board may retain

Dodge or Joshua, and there is precedent for that in Micah's case. However, it would then be up to

the CDA to determine if he will seek to discharge them, notwithstanding a vote to retain them like

Micah. Even if they are separated by the board or by the CDA or the Secretary of the Navy - the




7
 The consolidated disposition authority for Marine Corps January 6th cases is the Commander,
Marine Forces Command, currently: Lieutenant General Brian Cavanaugh, USMC.


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only performance and conduct that is permissible to consider in determining characterization is

during their current enlistment, for they have already been discharged honorably and reenlisted

and that characterization is considered permanent.8 The least favorable characterization is

Honorable, even if their reenlistments are considered Erroneous (absent fraud by the Marine).

Without looking to the previous enlistment for characterization evidence, Dodge and Joshua will

receive honorable discharges even if they are separated for their actions.

                                 It's not an employment decision.

I appreciate that the law may consider administrative repercussions collateral, but I do take issue

with characterizing this separation process as an employment decision. Having enlisted in 1984,

retiring in 2006, and been around Marines for nearly 40 years now, I can only say the impact of

telling a Marine who desires to serve - you are no longer worthy - is tough to put into words.

Trying to explain why after he has (1) accepted responsibility for his actions and (2) been retained

by a jury not of his peers but by a jury hand-selected by the Commander recommending an other

than honorable discharge, none of that matters and his discharge will not be honorable is nothing

I can do justice in writing. Again, I understand the collateral nature of sentencing, but it's not an

employment decision - it is an eradicable stigma and severe rejection.

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8
  Marine Corps Order 9100.16. para 1004.4a(1): Characterization of the current enlistment or
period of service is determined by conduct, actions, or performance during that enlistment or
service plus any extensions prescribed by law or regulations or effected with the consent of the
Marine. Thus, positive or negative conduct, acts, or performance during a period of prior military
service--including court-martial, nonjudicial punishment, absence without leave, misconduct for
which a reenlistment waiver was granted, or commission of other offenses for which punishment
was not imposed or adjudged--cannot be considered in determining the characterization to be
recommended for the current enlistment.


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                                          ...and finally.

Micah has been humbled and embarrassed by his actions, and by extension, so has his family and

the Marine Corps. For that, he bears a tremendous amount of remorse. From the day he was

arrested in January 2023 through today, and more will come after sentencing, Micah has been

savaged in the press: press back home in Indiana (Muncie Star Press), press local in San Diego

(San Diego Union-Tribune), and world-wide military news sources (military.com, task and

purpose, military times). No one would want to endure that branding. Micah has been humble,

respectfully declined comment, and looks for a time when his actions on January 6th are not

associated with the Marine Corps.

Again, this is a collateral consequence, but I ask you to consider the overall impact on Micah. And

while general deterrence can be imparted in different ways, no target of a general deterrence

message would want to endure what Micah has endured with his poor choices in 2021.

                                       Remaining Factors

Micah has no expectations, and both understands and respects the full authority of the court. Micah

appreciates the agreement that he was able to enter and fulfill and by which he will continue to

abide. Additionally, Micah appreciates the Pretrial Services Officer's detail and thoroughness in

collecting information, the report created, and the recommendation of no confinement to the court

based upon that work. In addition, we request the court consider:

                                    Micah's military service.

Excerpts from Micah's service record are appended exhibits. A summary is:

   1. The only negative paperwork Micah has received in 5 years of service is the adverse

       administrative counseling about January 6, 2021, involvement. Further, he has no record

       of nonjudicial punishment or court-martial.




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    2. Before his arrest in January 2023, Micah was eligible for promotion to Sergeant but was

       not promoted due to unrelated service scoring issues. Before Micah was eligible, the other

       two Marines with him were both promoted to Sergeant on time. By the time the scoring

       issues were resolved, Micah had been arrested and was no longer eligible for promotion.

    3. Before the Junior Enlisted Performance Evaluation System (JEPES) was implemented, Micah’s

       average     proficiency    and     conduct     marks     in    the    Marine     Corps     were:




    His proficiency and conduct markings cover boot camp (September 2018) through February

    2021 at Quantico. 9

    4. With the introduction of JEPES, his evaluations are, overall, very good.10 CHAR is your Character

       rating, MSN is you Occupational Specialty Proficiency rating, and LDR is your Leadership rating.




       For almost 2 years, his performance reports in California were very strong, and then, in

       the first part of January 2023, he was arrested for the January 6, 2021, charges. I don't


9
   Marine Corps Order P1070.12H: Proficiency and conduct marks range from 0.0 to 5.0. The
following explanation of markings is provided: 0.0 to 1.9 unacceptable, 2.0 to 2.9 unsatisfactory,
3.0 to 3.9 below average, 4.0 to 4.4 average, 4.5 to 4.8 excellent, 4.9 to 5.0 outstanding.
10
   Marine Corps Order 1616.1:
4.0 – 3.1. Solid performers whose accomplishments did not rate formal commendatory material
may fall into the category of “Exceeds Expectations” and be marked between 3.1 through 4.0.
3.0 – 2.0. A Marine who “Meet’s Expectations” for their grade in the areas of Character, MOS
and or Mission Accomplishment, and Leadership fall between 2.0 and 3.0. Until proven otherwise,
a Marine should begin at 2.5 in all three categories.



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       think it is surprising to anyone that getting arrested during the reporting period affected

       his markings. The same holds true for the last set in July 2023, issued after his guilty plea

       and administrative separation board.11

   5. Micah also has received a certificate of commendation for superior performance during

       this enlistment.

                   Micah's support network is strong, and his future is bright.

Micah has provided the court with over two dozen letters from family, friends, co-workers,

supervisors, and clergy. For a young man, he has a long history of good behavior, community

service, service to his country, and being a supportive family member. This does not give one a

pass, so to speak, but I hope it communicates to the court that Micah's actions on January 6, 2021,

were out of character for him and that being humbled to ask for the support of those who know

him best was a resounding wake-up call for Micah. It screamed that it was time to grow up and

be the person his mother and father raised and focus on what is important in life - family, planning

for the future, and walking the right path - vice being pulled around by provocateurs and

influencers who may not have his or the public's best interest in mind.

   The court can rest assured Micah will be a positive contributor to society and walk a law-

                                    abiding path in the future.

Micah stands deterred. As discussed, supra., Micah has almost certainly lost his GI Bill and his

honorable discharge (we will know for sure on 9/9/2023); however, he will be able to use the VA

to pursue vocational rehabilitation for additional training as he transitions to the civilian sector.

Micah has strong tech skills from his training in intelligence, surveillance, and reconnaissance




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systems engineering, which should make him marketable in Southern California.12 Additionally,

for now, he still maintains a Top-Secret Security Clearance through the Defense

Counterintelligence and Security Agency.

Micah's wife is still serving on active duty in the U.S. Marine Corps, and their immediate future

will keep them in California for work, school, and service. They are saving money for a house

and hope to return to Indiana and buy a home near where they grew up. Micah will not do

anything to jeopardize their plans and their future or his wife's career.

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12
   ISR Systems Engineers’ duties encompass all-inclusive encrypted communications with tactical
radio platforms, satellite platforms, and data network services from local-level to enterprise-level
designs which include but not limited to specialized communications equipment, unit-unique
intelligence repositories and computer information technology, and the integration of enterprise
services, automated services, cloud computing, converging and emerging technologies, and
national-to-tactical reach back capabilities. This duty also maintains connectivity into the Marine
Corps ISR enterprise for data standardization, enterprise support and services, network and data
redundancy, and disaster recovery. Additionally, Marines assigned this MOS will receive training
in computer hardware fundamentals, common operating systems, network security, information
assurance, database and data flow management, radio frequency theory, satellite communications,
basic, intermediate and advanced networking, network and data science philosophies, information
warfare, and cyber security policies. This MOS will be assigned and voided only by the authority
of the CMC (MM). Marines in this MOS may be assigned to a BIC [within their occupational
field] that has been coded with one or more DoD Cyber Workforce Framework (DCWF) work role
codes.



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                                         Conclusion

Finally, on behalf of Micah Coomer, we respectfully request the court follow the recommendation

of the United States Probation Office.



                                                Respectfully submitted,

                                                /s/ Phillip Stackhouse

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